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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                    8:03CR313
                                             )
             v.                              )
                                             )
JOSE ANTONIO RAMIREZ-CORTEZ,                 )                      ORDER
                                             )
                    Defendant.               )
                                             )


      Before the court are 1) defendant's Motion for Copies, Filing No. 85, and 2)
defendant's Motion for Leave to Appeal in Forma Pauperis, Filing No. 86.
      28 U.S.C. § 2250 contemplates the filing of a motion for collateral review of a
conviction and a motion for leave to proceed in forma pauperis before free copies of the
record or parts of the record may be furnished to the moving party. Section 2250 states:
      If on any application for a writ of habeas corpus an order has been made
      permitting the petitioner to prosecute the application in forma pauperis, the
      clerk of any court of the United States shall furnish to the petitioner without
      cost certified copies of such documents or parts of the record on file in his
      office as may be required by order of the judge before whom the application
      is pending.

      See also Chapman v. United States, 55 F.3d 390, 390-91 (8th Cir. 1995):

      We held in United States v. Losing, 601 F.2d 351, 352 (8th Cir. 1979) (per
      curiam), that under 28 U.S.C. § 753(f) and under Supreme Court authority
      "any request for a free transcript prior to the filing of a section 2255 complaint
      is premature." We also held that under section 753(b), access to materials
      such as a transcript is not constitutionally required until after judicial
      certification that access is required to decide issues presented in a pending,
      non-frivolous case. Id. at 353. The district court correctly held that [the
      defendant] was not entitled to copies of transcripts at government expense
      in advance of filing suit.

      Once a Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence
by a Person in Federal Custody (“§ 2255 motion") is filed, 28 U.S.C. § 753(f) provides
funds for a transcript if the defendant qualifies. “Fees for transcripts furnished in
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proceedings brought under section 2255 of this title to persons permitted to sue or appeal
in forma pauperis shall be paid by the United States out of money appropriated for that
purpose if the trial judge or a circuit judge certifies that the suit or appeal is not frivolous
and that the transcript is needed to decide the issue presented by the suit or appeal.” Id.
       Therefore, filing nos. 85 and 86 are denied at this time, but the motions may be
reasserted after the filing of a § 2255 motion.
       SO ORDERED.
       DATED this 27th day of July, 2005.

                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            United States District Judge




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